             Case 22-54208-sms                           Doc 1        Filed 06/03/22 Entered 06/03/22 12:51:16                                     Desc
                                                                     Petition Page 1 of 6
                                                                                                                          VTLE0 IN et.ERK'S fflC
                                                                                                                              BANKRUPTCY COURT •
 Fill in this information to identify the case:                                                                             NORTHERN DISTF'dO,T •
                                                                                                                                 OF GEORGIA
 United States Bankruptcy Court for the:
                                                                                                                          21121 JUN -3 PM 12: 147
(4,uf           cfN         District of
                                          (State)                                                                                  M. REG111,4 THOMAS
 Case number (If known):                                        Chapter lt                                                              IY611
                                                                                                                                            Kck if this is an




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name




 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer
    Identification Number (EIN)
                                               5              7_5
                                                              —


                                                    4 Z?—IøjCa                                                                                    C—
 4. Debtor's address                            -141mipekrdace-of business                                    Meiftglemiduss, if different from principal place
                                                                                                              of business

                                               P.O.•         60 -7(       //41                                 Z-30Street/-766.,i
                                                                                                              Number
                                                    Number    Street


                                                                                                              P.O. Box

                                               ged                K , ap.                                             7(44                           k733/
                                               City                               State     ZIP Code          City                         State       ZIP Code

                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business

                                                    County
                                                                                                              Number      Street




                                                                                                              City                         State       ZIP Code



 s. Debtor's website (URL)




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
               Case 22-54208-sms                 Doc 1            Filed 06/03/22 Entered 06/03/22 12:51:16                                  Desc
                                                                 Petition Page 2 of 6


Debtor           Ca(
                Name
                               p cu             ces,                                             Case number (if known)


                                              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                              Partnership (excluding LLP)
                                              "Other. Specify:        -les C..


                                          A. Check one:
 7. Describe debtor's business
                                          0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          0 Railroad (as defined in 11 U.S.C. § 101(44))
                                          0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          LI Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          GlICTOne of the above


                                          B. Check all that apply:

                                          D Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                          0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             htto://vvww.uscourts.qov/four-diqit-national-association-naics-codes .



  8. Under which chapter of the           Check one:
     Bankruptcy Code is the
     debtor filing?
                                          O Chapter 7
                                          • Ch)pter 9
                                          V6hapter 11. Check all that apply.
                                                             O Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                               501/25 and every 3 years after that).
                                                                 Y'The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                    debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                    of operations, cash-flow statement, and federal income tax return or if all of these
                                                                    documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 lirt;e debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                     chooses to proceed under Subchapter V of Chapter 11.

                                                      .6) C141°-A plan is being filed with this petition.
                                                                 O Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntaty Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                          •     Chapter 12

  9. Were prior bankruptcy cases          11No
     filed by or against the debtor
     within the last 8 years?              0 Yes.     District                               When                         Case number
                                                                                                    MM/ DD/YYYY
         If more than 2 cases, attach a
                                                      District                               When                         Case number
         separate list.
                                                                                                    MM/ DD/YYYY


   Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 2
             Case 22-54208-sms               Doc 1         Filed 06/03/22 Entered 06/03/22 12:51:16                                              Desc
                                                          Petition Page 3 of 6


Debtor                                                                                    Case number (ifiwown)
             Name



 lo. Are any bankruptcy cases
     pending or being filed by a
     business partner or an            gr"Yes. Debtor     z [=-/e0 y 46 t-louA)                                   Relationship
     affiliate of the debtor?                    District A16P4 aria                                              Mien                   3       Z_c:›ZZ_
                                                                                                                                 Niro I DD /YYYY
     List all cases. If more than 1,
     attach a separate list.                     Case number, if known 2_ 2. - s /
 11. Why is the case filed in this     Check     that apply:
     district?
                                       lirE;ebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                       0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have           No
     possession of any real            litri'es. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                O It needs to be physically secured or protected from the weather.

                                                O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                                O Other        PrOPC-C4 k(3                                                                  ,




                                                Where is the property?                    51-1,„fl floe, Me-) y                                     q05     -50,(1,/e4"
                                                                             Number        Street                                                           "S".. cksw,
                                                                             (JP ('‘)/)             ' , 6-4                °a"    C i(
                                                                                                                                                              (%%
                                                                                                                                                      _O•
                                                                             City                                                State ZIP Code


                                                Is the property insured?

                                                 1:1 No
                                                          Insurance agency

                                                          Contact name

                                                          Phone




              Statistical and administrative information



   13.Debtor's estimation of            Check one:
      available funds                   U 5nds will be available for distribution to unsecured creditors.
                                       'WAfter
                                        r      any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                        dc1-49                           0 1,000-5,000                                   0 25,001-50,000
   14. Estimated number of              0 50-99                          0 5,001-10,000                                  0 50,001-100,000
       creditors
                                        0 100-199                             10,001-25,000                              0 More than 100,000
                                        0 200-999

   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 3
            Case 22-54208-sms                  Doc 1          Filed 06/03/22 Entered 06/03/22 12:51:16                                          Desc
                                                             Petition Page 4 of 6


Debtor                                                                                           Case number (If mown)
             Name



                                          1:1 $0-$50,000                     LI $1,000,001-$10 million                    LI $500,000,001-$1 billion
 is. Estimated assets                     LI $50,001-$100,000                LI $10,000,001-$50 million                   LI $1,000,000,001-$10 billion
                                          LI $90,001-$500,000                LI $50,000,001-$100 million                    0   $10,000,000,001450 billion
                                          M1500,001-$1
                                          VI             million             LI $100,000,001-$500 million                   0   More than $50 billion


                                          LI $0-$50,000                      LI $1,000,001-$10 million                      LI $500,000,001-$1 billion
 is. Estimated liabilities                LI $50,001-$100,000                0 $10,000,001450 million                       LI $1,000,000,001-510 billion
                                             31.8a,001-$500,000              LI $50,000,001-$100 million                    LI $10,000,000,001-$50 billion
                                          rW$500,001-$1 million              0 $100,000,001-$500 million                    LI More than $50 billion




IN          Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


• 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of             petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                                              / p perjury that the foregoing is true and correct.
                                          I declare under penalty
                                                                 1
                                              Executed      1217    0       2-0    22..
                                                            I rei / DD / Y YY

                                                                            ieL._—
                                              Signature of auth rizec representative of debtor               Printed name

                                              Title
                                                                   r-- 0                                                                      3 oc)
                                                                                                                                6/04 IL/SG — zs/s
  18. Signature of attorney                                                                                  Date
                                               Signature of attorney for debtor                                           MM     / DD /YYYY




                                              Printed name

                                              Firm name

                                              Number         Street

                                              City                                                                State           ZIP Code


                                               Contact phone                                                      Email address




                                               Bar number                                                         State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
               Case 22-54208-sms              Doc 1      Filed 06/03/22 Entered 06/03/22 12:51:16                         Desc
                                                        Petition Page 5 of 6




                                              LIST OF CREDITORS
                                                                         Guidelines:
The debtor must provide and maintain a complete List of                  • Creditor name and mailing address ONLY
                                                                         • Enter one creditor Per box
Creditors reflecting names and addresses only of all
                                                                         • Creditor's name must be on the first line
creditors. This list is used to mail notices to creditors. Lack
                                                                         • City, state and zip code must be on the last line
of proper notice may result in no discharge of a debt                    • No more than five lines of information per creditor
owed.                                                                     • Do NOT include: account numbers, phone numbers or
                                                                          amounts owed.




I   so         I- £4/         eooi< RoAD,Suz7/f/26-

ELM.51-1,1 01 AN1 . 70 g z                      3




                                                                  , ..     ,    .t
                Case 22-54208-sms                  Doc 1        Filed 06/03/22 Entered 06/03/22 12:51:16                                Desc
                                                               Petition Page 6 of 6
   Case Number: 22-54208                                       Name:           Cal Properties Inc                                       Chapter: 11

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

 IZI Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                          Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                         El Last 4 digits of SSN
 El Pro Se Affidavit (due within 7 days, signature must be notarized,                         0 Address E County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                          O Type of Debtor
 Li Signed Statement of SSN (due within 7 days)                                               O Chapter
                                                                                              0 Nature of Debts
  MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        El Statistical Estimates
  IZ Statement of Financial Affairs                                                           O Venue
  El Schedules: A/B, D, E/F, G, H                                                             O Attorney Bar Number
  El Summary of Assets and Liabilities
  CZ Declaration About Debtor(s) Schedules
  El Attorney Disclosure of Compensation
  El Petition Preparer's Notice, Declaration and Signature (Form 119)
  El Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                                              Case filed via:
  El Chapter 13 Current Monthly Income                                                   El Intake Counter by:
  O Chapter 7 Current Monthly Income                                                          El Attorney
  El Chapter 11 Current Monthly Income                                                        El Debtor - verified ID:
  El Certificate of Credit Counseling (Individuals only)                                      IEJ Other - copy of ID: Leroy Donice Calhoun, Jr
  El Pay Advices (Individuals only) (2 Months)                                                                       404-300-9049
  O Chapter 13 Plan, complete with signatures (local form)
  CI Corporate Resolution (Business Ch. 7 & 11)                                          Signature:
                                                                                         Acicnowled ment of receipt of Deficiency Notice
  Ch.11 Business
  N 20 Largest Unsecured Creditors
  El List of Equity Security Holders
  [E1 Small Business - Balance Sheet
  121 Small Business - Statement of Operations                                                       History of Case Association
  El Small Business - Cash Flow Statement
  El Small Business - Federal Tax Returns                                                Pending related cases within 2 years: 22-54196

  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  O Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-pavments (not for chapter 13 plan payments)
        • Paid $ 0
        • Filing fee of $ 1738 due

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                    **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000

 Intake Clerk: N.D.                    Date: 6/3/22                       Case Opener:                                               Date:
